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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.2
                                Eastern Division

Joyce Carpenter
                                            Plaintiff,
v.                                                          Case No.: 1:11−cv−08017
                                                            Honorable Elaine E. Bucklo
Frederick J. Hanna & Associates, P.C.
                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 6, 2011:


      MINUTE entry before Honorable Elaine E. Bucklo:Pursuant to Notice of
Voluntary Dismissal, this case is dismissed with prejudice.Mailed notice(mpj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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